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                             IN THE UNITED STATES DISTRICT COURT
                                FOR THE DISTRICT OF COLORADO

Civil Action No. 13-cv-00248-MSK-MJW

AVENGERS, INC., et al.,

        Plaintiffs,

v.

QFA ROYALTIES LLC, et al.,

        Defendants.


                              CORPORATE DISCLOSURE STATEMENT


        Pursuant to Fed. R. Civ. P. 7.1 and D.C.COLO.LCivR 7.4, Defendants QCE Holding

LLC, QCE Incentive LLC, Quiznos Finance, Inc. (formerly known as Quiznos Finance LLC),

The Cervantes Holding Company LLC, Cervantes Capital LLC, and Cervantes Master LLC,

through their attorneys, respectfully submit this disclosure statement.

        1.       QCE Holding LLC’s sole member is Quiznos Finance, Inc. No publicly held

entity owns more than 10% of the stock or membership units of QCE Holding LLC.

        2.       QCE Incentive LLC’s sole member is QCE Holding LLC. No publicly held

entity owns more than 10% of the stock or membership units of QCE Incentive LLC.

        3.       Quiznos Finance, Inc.’s sole stockholder is Consumer Capital Servicing LLC. No

publicly held entity owns more than 10% of the stock of Quiznos Finance, Inc.

        4.       The parent entities of The Cervantes Holding Company LLC, formerly known as

The Cervantes Holding Company, are RES-TCHC 2010 Irrevocable Trust, RFS-TCHC 2010

Irrevocable Trust, and Richard F. Schaden Trust U/DOT/Dated 5/17/04. No publicly held entity




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owns more than 10% of the stock or membership units of The Cervantes Holding Company

LLC.

        5.       Cervantes Capital LLC’s members are RESDE LLC and RFSI LLC. No publicly

held entity owns more than 10% of the stock or membership units of Cervantes Capital LLC.

        6.       Cervantes Master LLC’s sole member is Cervantes Investor Holdings LLC. No

publicly held entity owns more than 10% of the stock or membership units of Cervantes Master

LLC.

        Respectfully submitted this 7th day of February, 2013.

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                                             Schaden, Patrick E. Meyers, and Steven B. Shaffer




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                                 CERTIFICATE OF SERVICE

        I hereby certify that on February 7, 2013, I electronically filed the foregoing with the

Clerk of Court using the CM/ECF system, which are serve the following e-mail addresses:

              Jeffrey Cohen
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                                              s/ Leonard H. MacPhee
                                              Leonard H. MacPhee




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